                              INDEX OF AERIAL INFRARED VIDEO

                  WILANSKY v. PAUL D. BAKKE, et. al, Civil No. 3:23-CV-00142

Aircraft_nov20      VIDEO: Aerial Infrared video of protest scene at Backwater Bridge on November
                    20, 2016 from 17:58:22 to 22:05:40 (military time).

       Meter

       0:03:00      Semi truck backing up to remaining burnt dump truck at barricade along with
                    protesters behind Semi and shield wall; protesters climbing under and around
                    burnt dump truck in attempt to attach to Semi. The same semi pulled another
                    burnt dump truck away from barricade shortly before

       0:05:48      Law enforcement successful in repelling initial assault on barricade as Semi
                    moves south onto bridge

       0:06:50      Small group of protesters cross onto north shore of Cantapeta Creek from Turtle
                    Island to Turtle Hill and scale hill where law enforcement positioned with flood
                    lights – site of prior large scale assaults by protesters. Protesters return to
                    Turtle Island after being confronted by law enforcement located on top of hill

       0:20:37      Protester numbers on bridge begin to swell and shield wall advances on law
                    enforcement barricade

       0:21:29      Very few law enforcement officers on the scene – greatly outnumbered by
                    hostile protesters aggressively advancing on barricade

       0:22:56      Brief camera image not in infrared (its dark out)

       0:24:28      Protesters’ shield wall reaches burnt dump truck and protesters hide behind and
                    around burnt truck, which is chained to and a part of law enforcement’s
                    barricade

        0:25:54     Law enforcement successful in repelling second assault on barricade as
                    protesters retreat – law enforcement greatly outnumbered

       0:33:00      Protesters with shield wall advance on law enforcement barricade for third
                    assault – bridge full of protesters versus handful of law enforcement – this cycle
                    repeats numerous times

       0:35:00      Protesters crawling under and around burnt truck

       0:47:48      Water deployed for first time; law enforcement greatly outnumbered, number
                    of protesters continues to increase, refusing to back away

       0:40:30      Protester crawling under burnt truck

       0:43:20      Still very few law enforcement officers on scene

       0:45:00      Brief camera image not in infrared


                                                1                               Exhibit Q
0:54:50   Water deployed – protesters choosing to remain in range of water; insufficient
          water force to knock anyone down or even push anyone back; limited range

0:55:55   Protester numbers continue to increase; some law enforcement reinforcements
          have arrived, but still overwhelmingly outnumbered. Protesters extending into
          ditches on east and west side of Highway 1806 on north shore

1:00:30   Protesters directly up against law enforcement barricade

1:09:00   Law Enforcement still greatly outnumbered

1:12:07   Brief camera image not in infrared

1:12:19   Protester vehicles on the bridge amongst protesters near the burnt dump truck

1:15:00   Law enforcement repels bulk of third assault

1:17:35   Mobile field force line forming along barricade as protesters return again; law
          enforcement still overwhelmingly outnumbered

1:32:30   Protesters begin proceeding west, cross country, in attempt to flank law
          enforcement

1:38:00   Protester numbers swell on west flank; confronted by law enforcement

1:41:50   Protester throwing CS canister at law enforcement (this occurs numerous times
          throughout the riot: note, other debris thrown at law enforcement will not
          appear in infrared video as no heat differential)

1:49:12   Protester surge on west flank

1:59:37   Protesters throwing CS canisters at law enforcement

2:03:00   Law enforcement still overwhelmingly outnumbered by protesters

2:20:30   Fires burning on high ground to the west of Bridge

2:20:55   Protester observed setting fire to west of Bridge on high ground

2:59:40   Protester throwing CS canister at law enforcement

3:00:20   Protester fired fireworks

3:02:41   Protesters start fire on east flank along north shore

3:03:24   Now a large bonfire on east flank along north shore

3:27:25   Humvees being positioned sideways along police line for cover

3:47:50   Close up image of burnt dump truck pulled away from barricade earlier in the
          day sitting along Highway 1806 south of bridge

3:59:00   Extinguishing bonfire on east flank



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4:02:52   Protesters start another bonfire east of Highway 1806 on north shore out of
          range of fire hose

4:11:05   Non-infrared images

4:15:34   Protesters shielding bonfires on east flank with tarps




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